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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MARNITA CHARLES,                           )
                                           )
              Plaintiff,                   )       CASE NO. 18-cv-7234
                                           )
       v.                                  )       JURY DEMANDED
                                           )
2ND GEN – YORKTOWN INC.,                   )
DBA DUNKIN DONUTS,                         )
VIPUL PATEL, and                           )
CHETAN JANI,                               )
                                           )
              Defendants.                  )

                                       COMPLAINT

       Plaintiff Marnita Charles, through her attorneys, Hughes Socol Piers Resnick & Dym,

Ltd., complains against Defendants 2nd Gen – Yorktown Inc., DBA Dunkin Donuts, Vipul Patel,

and Chetan Jani as follows:

                                NATURE OF THE ACTION

       1.     Defendant 2nd Gen – Yorktown Inc. (“2nd Gen”) is a corporation that owns and

operates Dunkin Donuts franchises. 2nd Gen is owned and operated by Defendants Vipul Patel

and Chetan Jani.

       2.     Defendants have willfully engaged in a scheme, business plan, or policy of

requiring Plaintiff to work over forty hours per week without paying her overtime premium pay.

       3.     Plaintiff now seeks to recover unpaid overtime premium pay and improperly

withheld wages under the Fair Labor Standards Act (“FLSA”) and the Illinois Minimum Wage

Law (“IMWL”).

                                      JURISDICTION

       4.     The Court has jurisdiction over this case pursuant to 29 U.S.C. § 216(b) and 28



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U.S.C. § 1331. The Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant

to 28 U.S.C. § 1367.

                                               VENUE

       5.      Venue is proper in this Court because a substantial part of the events or omissions

giving rise to the Plaintiff’s claims occurred in this judicial district, and Defendant 2nd Gen resides

in this judicial district. See 28 U.S.C. § 1391(b).

                                             PARTIES

       6.      Marnita Charles is a resident of Chicago, Illinois, and worked for 2nd Gen –

Yorktown Inc. at a Dunkin Donuts franchise it owns and operates March 2017 to April 2018.

       7.      Defendant 2nd Gen is an Illinois Corporation that operates Dunkin Donuts

franchises.

       8.      Defendant Vipul Patel is an owner of 2nd Gen.

       9.      Defendant Chetan Jani is the president and is an owner of 2nd Gen.

       10.     During relevant times, Plaintiff has been an employee of Defendants within the

meaning of the FLSA, 29 U.S.C. § 203, and the IMWL, 820 ILCS 105/3(d).

       11.     During relevant times, Defendants were Plaintiff’s “employer,” as defined by the

FLSA, 29 U.S.C. § 203, and the IMWL, 820 ILCS 105/3(c).

                          EMPLOYER AND ENTERPRISE STATUS

       12.     During relevant times, Defendants constituted an “enterprise” as that term is

defined in the FLSA because they performed related activities (either through unified operation

or common control) for a common business purpose – namely, operating Dunkin Donuts

franchises.

       13.     During relevant times, the Defendants’ annual gross revenue exceeded $500,000.




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        14.    During relevant times, Defendant made decisions about whether Plaintiff received

overtime pay for hours worked in excess of forty in a workweek.

        15.    Defendants are jointly responsible for the unlawful wage and hour violations

described in this complaint because they jointly controlled Plaintiff’s work and the manner in

which Plaintiff was paid for that work.

                                 FACTUAL ALLEGATIONS

        16.    Defendants hired Plaintiff to work as a cashier at a Dunkin Donuts in the Yorktown

Shopping Center in Lombard, Illinois in March 2017.

        17.    Plaintiff worked as a cashier at the Lombard, Illinois Dunkin Donuts from March

2017 to July 2018 and again from September 2018 to the present.

        18.    From March 2017 to July 2018, Plaintiff often worked more than fifty hours per

week as a cashier.

        19.    In March 2017, Plaintiff’s agreed upon hourly wage was nine dollars per hour.

        20.    In April 2017, Plaintiff’s agreed upon hourly wage increased to ten dollars per hour.

        21.    In August 2017, Plaintiff’s agreed upon hourly wage increased to eleven dollars per

hour.

        22.    While Plaintiff worked for Defendants, they regularly failed to pay Plaintiff time-

and-a-half for hours worked in excess of forty in a workweek.

        23.    For example, for the pay period beginning on November 26, 2017 and ending on

December 9, 2017, Plaintiff worked 131.4 hours. Plaintiff was paid eleven dollars per hour for

76.17 hours and paid a “bonus” of eleven dollars per hour for 59.06 hours. During this time period,

Plaintiff was not paid time and one half for hours worked over eighty hours.




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        24.     As another example, for the pay period beginning December 10, 2017 and ending

December 23, 2017, Plaintiff worked 140 hours. Plaintiff was paid eleven dollars an hour for all

140 hours and was not paid time and a half for any hours worked over eighty hours.

                                            COUNT I
                           Violation of the Fair Labor Standards Act
                                     29 U.S.C. § 203, et. seq.

        25.     Plaintiff incorporates by reference each of the preceding allegations as though

fully set forth herein.

        26.     Defendants willfully refused to pay Plaintiff overtime premiums required by

FLSA, 29 U.S.C. § 207(a), which requires an employer to pay its hourly, non-exempt employees

at a rate of not less than one-and-a-half times the regular rate of pay for all hours worked in

excess of forty in any workweek.

                                     PRAYER FOR RELIEF

        Plaintiff asks the court to enter judgment against Defendants and issue an order:

        a. Entering judgment in the amount of all unpaid overtime wages due and owing to the
           Plaintiff as well as all applicable liquidated damages;

        b. Declaring that Defendants’ conduct violated the FLSA;

        c. Awarding Plaintiff her reasonable attorneys’ fees and costs of this action;

        d. Awarding pre-judgment and post-judgment interest on all monetary amounts awarded
           in this action; and

        e. Awarding such other and further relief as this Court deems appropriate and just.

                                            COUNT II
                          Violation of the Illinois Minimum Wage Law
                               820 ILCS 105/1 et seq. (“IMWL”)

        27.     Plaintiff incorporates by reference each of the preceding allegations as though

fully set forth herein.




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       28.     Defendants employed Plaintiff because they permitted Plaintiff to work as a

cashier and exerted substantial control over the manner in which she performed that work.

       29.     Plaintiff worked for Defendants in excess of forty hours in a workweek.

       30.     Defendants willfully refused to pay Plaintiff one-and-a-half times her regular

hourly rate for hours worked in excess of forty in a workweek, in violation of the IMWL.

                                     PRAYER FOR RELIEF

       Plaintiff asks the court to enter judgment against Defendant and issue an order:

       a. Declaring that the actions complained of herein violate 820 ILCS 105/4;

       b. Awarding Plaintiff all unpaid overtime wages due and owing;

       c. Awarding Plaintiff prejudgment interest on the back wages in accordance with 815
          ILCS 205/2;

       d. Awarding penalties in the amount of 2% of all unpaid wages for each month the unpaid
          wages remain delinquent, as contemplated by 820 ILCS 105/12(a);

       e. Awarding reasonable attorneys’ fees and costs of this action as provided by the IMWL;

       f. Providing injunctive relief requiring Defendant to pay all statutorily-required wages
          and penalties and barring future violations; and

       g. Awarding such other relief as this Court deems just and proper.

                                         JURY DEMAND

       Plaintiff demands trial by jury on all issues as to which a jury trial is available.

                                               Respectfully submitted,

                                               /s/ Chirag G. Badlani
                                               One of the Attorneys for the Plaintiff


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